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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS

 DOUGLAS JOHNSON,                                     )
                                                      )
                Plaintiff,                            )
                                                      )
        v.                                            )
                                                      )      22 CV 3718
 COOK COUNTY SHERIFF THOMAS                           )
 DART , in his official capacity,                     )      Judge Robert W. Gettleman
 ANTWAUN BACON, a CCDOC officer,                      )
 and COOK COUNTY, a municipal                         )
 corporation,                                         )
                                                      )
                Defendants.                           )

        DEFENDANTS’ JOINT OPPOSED MOTION FOR EXTENSION OF TIME
                 FOR BRIEFING OF DISPOSITIVE MOTIONS

       NOW COME Defendants, ANTWAUN BACON, by and through his attorneys, Jason E.

DeVore and Zachary G. Stillman, of DeVore Radunsky LLC, and COOK COUNTY SHERIFF

THOMAS DART, and COOK COUNTY, a body politic and corporate, by and through their

attorneys, pursuant to Fed. R. Civ. P. 6(b), and for Defendants’ Joint Opposed Motion for Extension

of Time for Briefing of Dispositive Motions, state as follows:

       1.      This is the first request by any party for an extension regarding the dispositive

               briefing schedule.

       2.      Counsels for all parties have been in communication regarding this Motion and

               Counsels for Plaintiff have made their intended opposition clear.

       3.      On January 14, 2025, this Court issued an Order setting the following dispositive

               motion schedule: Motions due by March 14, 2025; Responses due by April 11, 2025,

               and Replies due by April 25, 2025. (ECF No. 72.)

       4.      Defendants have met and now jointly agree that they need additional time to draft

               their dispositive motions at present because of their schedules.
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       5.      Accordingly, the parties now request an 8 (eight) week extension to all deadlines, up

               to and including the following dates: Motions due by May 9, 2025; Responses due

               by June 6, 2025, and Replies due by June 20, 2025.

       6.      Under Rule 6(b), this Court may, for good cause, extend the time “[w]hen an act may

               or must be done.” Fed. R. Civ. P. 6(b).

       7.      Not granting the requested extensions of time would prejudice the parties because

               the current deadlines will not allow sufficient time to properly prepare and submit

               their briefs.

       8.      Granting an extension of time will not prejudice any party and this motion is not

               brought for undue delay or any improper purpose.

       WHEREFORE, Defendants respectfully request that this Honorable Court enter an order as

follows:

       1. Defendants’ Motion for Extension of Time is granted;

       2. Dispositive Motions are due by May 9, 2025; Responses due by June 6, 2025, and

            Replies due by June 20, 2025; and

       3. Any other such relief as this court deems reasonable and just.

                                                            Respectfully Submitted,

                                                            Defendants

                                                     By:    /s/ Zachary G. Stillman
                                                            Zachary G. Stillman, One of the
                                                            Attorneys for Defendants

DEVORE RADUNSKY LLC
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                                 CERTIFICATE OF SERVICE
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       The undersigned, an attorney, hereby certifies that the above Opposed Motion for Extension
of Time was filed on February 28, 2025, with the Northern District of Illinois ECF System, serving
a copy to all parties.

                                                    /s/Zachary Stillman
                                                    Zachary Stillman
